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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON
                                     PORTLAND DIVISION
PACIFIC GULF SHIPPING CO.,       §                   Case No.        3:18-CV-02076-MO
                                 §
                  Plaintiff,     §
                                 §
v.                               §                   DECLARATION
                                 §
ADAMASTOS SHIPPING & TRADING §
S.A., VIGOROUS SHIPPING &        §                   IN ADMIRALTY
TRADING S.A., BLUE WALL SHIPPING §
LTD., and PHOENIX SHIPPING &     §
TRADING S.A.,                    §
                                 §
                  Defendants.    §

        My name is Efstahios Gourdomichalis. I am over the age of 21 years, and am fully capable

and competent of making this declaration, I have personal knowledge of the facts below, and

declare that the following facts are true and correct under penalty of perjury under the laws of the

United States of America pursuant to Title 28 U.S.C. Section 1746.

        1. My business address is 47-49 Akti Miaouli, Piraeus, Greece GR-18536.

        2. I am the Secretary and Treasurer of Vigorous Shipping & Trading S.A. (“Vigorous

            Shipping”).

        3. I am authorized to make this declaration on behalf of Vigorous Shipping in the above-

            captioned matter.

        4. Vigorous Shipping is the owner of the M/V VIGOROUS (“Vessel”).

        5. Vigorous Shipping is a Liberian company, see accompanying Certificate of

            Incorporation, and its business address is c/o Phoenix Shipping & Trading, 47-49 Akti

            Miaouli, 5th Floor, Piraeus, 18536.


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        6. Vigorous Shipping is wholly owned by Blue Wall Shipping Limited.                    See

            accompanying Certificate of Shareholding.

        7. Vigorous Shipping has entered into a BIMCO Shipman (ship management) agreement

            with Phoenix Shipping & Trading S.A. (“Phoenix”) to technically and commercially

            manage Vigorous Shipping’s sole asset, the vessel VIGOROUS.

        8. Vigorous Shipping is not inadequately capitalized, and in fact owns a significant asset,

            i.e., the Vessel VIGOROUS.

        9. Vigorous Shipping is only required to file a flag registry tonnage tax, which it does

            independently from any other company. Audited financial statements are issued both

            consolidated for the Blue Wall corporate structure, as well as separately for Vigorous

            Shipping.

        10. The directors of Vigorous Shipping observe all the formal legal requirements necessary

            for separate corporate existence.

        11. There is no commingling of funds between Vigorous Shipping and Adamastos

            Shipping and Trading S.A.

        12. There is absolutely no connection and there never was between Vigorous Shipping and

            Adamastos Shipping & Trading S.A.

        13. Vigorous Shipping did not exist at the time that the charter agreement for the vessel

            ADAMASTOS was signed.

        14. Vigorous Shipping is incurring the following charges on a daily basis as a result of

            the seizure:

            Daily loss of profit (daily hire)                               12,000 USD
            Dockage/Security per day                                        3,663 USD
            Agency Cost per extra day                                       475 USD
            Low sulphur mgo consumption per day 4,1mt X 748USD              3,066.80 USD

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                                                                           ---------------
            Total daily costs:                                            19,204,80 USD

            By the time of the Court’s scheduled hearing on December 12, 2018, the vessel will

            have been under seizure for approximately 9 days. The estimated costs incurred by

            that time will be 172,843.20 USD.

        15. Moreover, Vigorous Shipping has already incurred the following charges:

            Shifting Pilotage (To Layberth)                               3,300 USD
            Tug Assist (Onto Layberth)                                    9,920 USD
            Linesmen (Tie Up Layberth)                                    2,577 USD
            Agency Fee (2nd Berth)                                        750 USD
            Linesmen (Let GO Layberth)                                    1,288 USD
                                                                          -------------------
                                                                          17,835 USD


Executed on this 10th day of December, 2018.



                                     Efstathios Gourdomichalis




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